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                                DISTRICT COURT OF THE VIRGIN ISLANDS
                                 DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,                                )
                                                         )
                           Plaintiff,                    )
                                                         )
                           v.                            )        Case No. 3:06-cr-0080
                                                         )
HENRY FREEMAN,                                           )
                                                         )
                           Defendant.                    )
                                                         )

                                                    ORDER
           BEFORE THE COURT is the November 21, 2017 limited remand from the Third
Circuit in this matter. (ECF No. 1540.)
           On October 1, 2007, Freeman was found guilty of conspiracy to possess cocaine with
intent to distribute. Thereafter, on April 15, 2009, the sentencing judge sentenced Freeman
to a term of imprisonment of 188 months to be followed by a term of supervised release of
three years.
           On February 12, 2015, Freeman filed a motion seeking a sentence reduction pursuant
to 18 U.S.C. § 3582(c)(2) based on Amendment 782 to the sentencing guidelines, which
reduced the base offense level by 2 for many drug offenses. (ECF No. 1459.) Thereafter, on
November 3, 2015, the Court (Gomez, J.)1 entered an order denying Freeman’s motion for a
sentence reduction. (ECF No. 1471.)
           On April 4, 2016, Freeman filed a notice of appeal directed at the Court’s November
3, 2015 Order. On the same day, he also filed a “notice of delayed filing of notice of appeal.”
In that filing, Freeman indicates that he did not receive notice of the Court’s November 3,
2015, order until March 21, 2016.
           On November 21, 2017, the Court of Appeals for the Third Circuit issued an order that
remanded the appeal to this Court for two limited purposes. (ECF No. 1540.) The Third
Circuit explained that it “lacks a sufficient factual basis to conclusively determine whether
the time for filing an appeal is subject to tolling, and in turn, whether [it has] jurisdiction over

1   This case was assigned to the undersigned judicial officer on May 13, 2020. (ECF No. 1555.)
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this appeal.” Id. at 1. As such, one of the limited purposes for which the Third Circuit
remanded to this Court was “to permit the District Court to conduct fact-finding pertinent to
[the Third Circuit’s] exercise of jurisdiction.” Id. at 2.
        To conduct this fact-finding, the Court finds it necessary to inquire of the Clerk of
Court as to whether the Clerk’s Office served Freeman with the November 3, 2015 Order.
        The premises considered, it is hereby
        ORDERED that, by no later than November 10, 2020, the Clerk of Court shall file a
response to this order addressing two inquiries: (1) whether the Clerk’s Office served
Defendant Freeman with the November 3, 2015 Order; and (2) whether, in 2015, the docket
would ordinarily reflect that a pro se incarcerated defendant was served with a copy of an
order in a criminal case.




Dated: November 5, 2020                               /s/ Robert A. Molloy
                                                      ROBERT A. MOLLOY
                                                      District Judge
